Case 3:21-cv-01081-MMH-PDB Document 13 Filed 11/30/21 Page 1 of 2 PageID 209




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


   CINDY L. RESCHKE,

                 Plaintiff,
                                                        Case No. 3:21-cv-1081-MMH-PDB
   v.

   TARGET CORPORATION, a
   Foreign Profit Corporation,

                 Defendant.
                                             /


                                           ORDER

          THIS CAUSE is before the Court on Plaintiff’s Motion for Remand (Doc.

   12; Motion), filed on November 24, 2021. Upon review of the Motion, it appears

   that Plaintiff has failed to include the certification required pursuant to Local

   Rule 3.01(g), Local Rules of the United States District Court for the Middle

   District of Florida (Local Rule(s)), regarding the duty to confer. 1 As such, the

   Court will require Plaintiff to file a supplement: (1) certifying that she has

   conferred with Defendant (2) indicating whether Defendant agrees on the



   1 The Court notes that the Motion also appears to violate Local Rule 1.08 which sets forth new

   typography requirements. The parties should ensure compliance with this Local Rule as well
   in their filings going forward. To familiarize themselves with the key changes to the Local
   Rules, all parties are encouraged to review the Video Presentation on New Local Rules
   available on the Middle District of Florida website at www.flmd.uscourts.gov/local-rules.
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Case 3:21-cv-01081-MMH-PDB Document 13 Filed 11/30/21 Page 2 of 2 PageID 210




   resolution of the Motion, and (3) if the Motion is opposed, explaining the means

   by which the conference occurred, as Local Rule 3.01(g) requires. Accordingly,

   it is

           ORDERED:

           Plaintiff Cindy L. Reschke is DIRECTED to file a supplement to

   Plaintiff’s Motion for Remand (Doc. 12) with the requisite Local Rule 3.01(g)

   Certification on or before December 16, 2021.

           DONE AND ORDERED in Jacksonville, Florida, on November 30, 2021.




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   Copies to:

   Counsel of Record




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